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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                  Case No. 11-20706

QUENTIN SHERER,

             Defendant.
                                               /

 ORDER GRANTING “MOTION FOR WITHDRAWAL OF ATTORNEY,” HOLDING IN
  ABEYANCE “MOTION TO COMPEL DNA” AND “MOTION IN LIMINE TO ADMIT
   EVIDENCE UNDER FEDERAL RULE OF EVIDENCE 404(b),” AND GRANTING
             CONTINUANCE UNDER THE SPEEDY TRIAL ACT

      On February 1, 2012, defense counsel filed a motion to withdraw from

representing Defendant in this matter, citing a complete breakdown of the attorney-

client relationship due to “continued arguments, disagreements and lack of trust

between Defendant and Counsel.” (Mot. Withdraw ¶ 8, Dkt. # 26.) The court discussed

the motion at a hearing on February 10, 2012, during which both Defendant and

defense counsel confirmed that the appointment of a new attorney to represent

Defendant would best serve his interests. Accordingly, for the reasons articulated on

the record at the February 12, 2012 hearing,

      IT IS ORDERED that defense counsel’s motion to withdraw [Dkt. # 26] is

GRANTED.

      IT IS FURTHER ORDERED that the Government’s “Motion to Compel DNA”

[Dkt. # 22] and “Motion in Limine to Admit Evidence Under Federal Rule of Evidence

404(b)” [Dkt. # 28] are HELD IN ABEYANCE pending a response from Defendant.
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         IT IS FURTHER ORDERED that a continuance is GRANTED for the purposes of

the Speedy Trial Act, until such time, not to exceed thirty days, that Defendant’s new

attorney is ready to proceed. The court finds that such a continuance will best serve the

ends of justice, as a continuance is necessary to provide new defense counsel

“reasonable time necessary for effective preparation” of this case. 18 U.S.C.

§ 3161(h)(7)(B)(iv).


                                                            s/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE

Dated: February 10, 2012


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 10, 2012, by electronic and/or ordinary mail.

                                                            s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




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